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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS
UNITED STATES OF AMERICA,
Plaintiff,
CRIMINAL NO. 17-cr-30090-MJR

)
)
)
)
vs. )
)
TEREZE L. FENDERSON, )

)

Defendant. )

DEFENDANT’S FULL WAIVER OF READING OF TERMS AND
CONDITIONS OF SUPERVISION IN OPEN COURT IN A SENTENCING
PROCEEDING

Defendant, through Counsel, acknowledges that Defendant has reviewed and discussed
the Presentence Report (PSR), including the proposed terms and conditions of supervision
recommended in the PSR. Defendant and Counsel have discussed the explanations of those
conditions and the justifications for them.

Defendant understands that, because no objections regarding the terms and conditions of
supervision recommended in the PSR have been filed, the Court may impose upon Defendant all
of the terms and conditions of supervision recommended in the PSR which the Court finds to be
appropriate. Defendant understands that the terms and conditions of supervision determined to
be appropriate by the Court will be included in the judgment, and Defendant understands that
Defendant will be required to follow the terms and conditions of supervision while on
supervision.

Defendant is aware that, during the sentencing hearing, the Court will read to Defendant

all of the terms and conditions of supervision that the Court is imposing if Defendant requests.
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Defendant has had adequate time to discuss the terms and conditions of supervision with Counsel
and waives reading of the terms and conditions of supervision.

Defendant has no objection to imposition of the conditions of supervision set forth in the
PSR and Defendant has no objection to the wording of the conditions. Defendant agrees that the
PSR sets forth adequate explanation for the necessity of the conditions, and Defendant
understands the conditions.

Defendant signs this waiver freely and voluntarily, and no threats, force or coercion have

been used to cause Defendant to sign this waiver.

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Date

 

Defense Counsé."5

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